                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION



   UNITED STATES OF AMERICA

   vs.                                                 Criminal Action No. 4:18CR00011-009

   SHANICQUA LATRICE COLEMAN


                                              ORDER


           On April 19, 2019, the defendant entered a plea of guilty to Count Twenty Five of the
   First Superseding Indictment. The court accepted the defendant’s plea. The parties have waived
   the preparation of a presentence report and the case is now set for sentencing on January 30, 2020
   at 9:00 a.m. in the Roanoke Division.

          In connection with the sentencing hearing, it is ORDERED as follows:

              1. No later than seven (7) seven days before sentencing, the prosecution and defense
              shall prepare a sentencing memorandum addressing sentencing considerations
              appropriate to the case. Such a memorandum shall specifically address the factors to
              be considered in imposing a sentence under 18 U.S.C. 3553(a). If a party needs an
              extension of time to file their sentencing memorandums, they need to request that
              extension in writing prior to the expiration of the deadline.

              2. Any exhibits to be introduced at sentencing shall be filed with the sentencing
              memorandum no later than seven days (7) prior to sentencing.

              3. The sentencing memorandum shall identify all witnesses who are expected to
              testify at sentencing.


                                                ENTERED: Decmeber 19, 2019
                                                /s/ Michael F. Urbanski
                                                Michael F. Urbanski
                                                Chief United States District Judge




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